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 6                      UNITED STATES DISTRICT COURT
 7                     CENTRAL DISTRICT OF CALIFORNIA

 8   DR. ZEIN E. OBAGI, M.D., et al.;             Case No. 2:20-cv-07059-AB-GJS
 9                          Plaintiffs,
                                                  [PROPOSED] FINAL JUDGMENT
10        v.
     VALLEY FORGE INSURANCE                       Judge: Hon. André Birotte Jr.
11
     COMPANY, et al.,
12
                            Defendants.
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 1          The Motion for Summary Judgment by Defendants VALLEY FORGE
 2    INSURANCE COMPANY and CONTINENTAL CASUALTY COMPANY came
 3    on regularly for virtual hearing on August 27, 2021 in Courtroom 7B.
 4          After reviewing papers and hearing arguments, and for good cause appearing,
 5    on October 1, 2021, the Court entered an Order (Doc. No. 58) Granting Defendant
 6    Valley Forge Insurance Company’s and Continental Casualty Company’s Motion
 7    for Summary Judgment Pursuant to Federal Rules of Civil Procedure 56 seeking
 8    dismissal of Counts 1 and 2 of the Complaint.
 9          For the reasons set forth in the October 1, 2021 Order, the Court enters final
10    judgment in favor of Valley Forge Insurance Company and Continental Casualty
11    Company on Counts 1 and 2 of the Complaint. The Clerk of the Court is directed to
12    enter final judgment and close this case.
13    IT IS SO ORDERED.
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16    Dated: October 12, 2021             ____________________________________
                                          THE HONORABLE ANDRÉ BIROTTE JR.
17                                        U.S. DISTRICT COURT JUDGE
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